                Case 5:20-mj-00131-DW Document 1 Filed 06/24/20 Page 1 of 25 PageID #: 1
   AO 106(Rev. 04/10) Application for a Search Warrant



                                         United States District Court
                                                                         for the
                                                              District of South Dakota


                  In the Matter ofthe Search of
                                                                            )
             (Briefly describe the property to be searched
              or identify the person by name and address)                   )           Case No. 5:20-mj-131
A thumb drive containing the download of the encrypted                      )
compressed storage file containing the content of Facebook )
User: Scud Mart, https://www.facebook.com/scudmart23226,)
which is stored at the ATP Office in Rapid City.I
                                               APPLICATION FOR A SEARCH WARRANT

           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

     SEE "ATTACHMENT A", which is attached to and incorporated in this Application and Affidavit,
   located in the                                    District of            South Dakota                  ,there is now concealed (identifl'the
   person or describe the property to be seized)'.


     SEE "ATTACHMENT B", which is attached to and incorporated in this Application and Affidavit.
              The basis for the search under Fed. R. Crim. P. 41(c)is (check one or more):
                     isf evidence of a crime;
                     sf contraband, fruits of crime, or other items illegally possessed;
                     aT property designed for use, intended for use, or used in committing a crime;
                     □ a person to be arrested or a person who is unlawfully restrained.
              The search is related to a violation of:

                 Code Section                                                           Offense Description
            18 U.S.C. §§ 922(g)(1) and 924(a)(2)          Possession of Firearm or Ammunition by a Prohibited Person
            26 U.S.C. §§ 5841, 5861(d), and 5871          Receipt or Possession of Unregistered Firearm


               The application is based on these facts:



               sf Continued on the attached sheet.
               □ Delayed notice of         days (give exact ending date if more than 30 days:                                      ) is requested
                   under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                          Applicant's signature

                                                                                                          ATP SA Riley Cook
                                                                                                          Printed name and title


    Sworn to before me and signed in my presence.


    Date:            06/24/2020
                                                                                                            Judge's signature

    City and state: Rapid City. SD                                                        Daneta Wollmann, U.S. Magistrate Judge
                                                                                                          Printed name and title
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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION




IN THE MATTER OF THE SEARCH OF a thumb drive                5:20-mj-131
containing the download of the encrypted
compressed storage file containing the content of          Filed Under
Facebook User: Scud Mart,                                  Seal
https:/ /www.facebook.com/scudmart23226, which
is stored at the ATF Office in Rapid City.


                          AFFIDAVIT IN SUPPORT OF
                 AN APPLICATION FOR A SEARCH WARRANT


State of South Dakota )
                      )ss
County of Pennington )

      I, Riley Cook, being duly sworn, state as follows:

      1.    I am a Special Agent("SA") with the United States Bureau of Alcohol,

Tobacco, Firearms, and Explosives ("ATF"), currently assigned to the Rapid City

Satellite Office. I have been employed by the ATF since July 2014. Prior to ATF,

I was employed as a Special Agent with the South Dakota Division of Criminal

Investigation where I was assigned to investigate felony crimes including, but not

limited to, narcotics trafficking and other types of violent crime. I have completed

the Criminal Investigator Training Program at the Federal Law Enforcement

Training Center ("FLETC"). I have also completed ATF Special Agent Basic

Training course. While attending the academies at FLETC in Glynco, Georgia, I

received specialized training concerning violations of the Gun Control Act within

Title 18 of the United States Code and violations of the National Firearms Act

within Title 26 of the United States Code.
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       2.     As a law enforcement officer, I have participated in numerous federal

and state investigations involving the sale, possession, and trafficking offirearms

and/or controlled substances. I have also participated in various armed robbeiy

cases. Through my participation in these investigations, I have debriefed

numerous defendants, informants, confidential sources, and witnesses who had

personal knowledge regarding firearms and/or narcotics trafficking. I have also

participated in undercover operations, conducted physical and electronic

surveillance, used informants, seized firearms and narcotics, executed search

warrants, and made arrests.

        3.    I make this affidavit in support of an application for a search warrant

for information associated with a certain Facebook user ID that was stored at

premises owned, maintained, controlled, or operated by Facebook Inc.

("Facebook"), a social networking company headquartered in Menlo Park,

California.    The information to be searched is described in the following

paragraphs and in Attachments A and B.

       . 4.   This affidavit is made in support of an application for a search

warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require

Facebook to disclose to the government records and other information in its

possession, pertaining to the subscriber or customer associated with the user

IDs.


        5.    Based on my training and experience and the facts as set forth in

this affidavit, there is probable cause to believe that evidence of violations of 18
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U.S.C. §§ 922(g)(1) and 924(a)(2) and 26 U.S.C. §§ 5841, 5861(d), and 5871, are

present in the following Facebook account: user name: Scud Mart, URL:

https:/ /www.facebook.com /scudmart23226.           It is your affiant's belief that

evidence of those crimes will be found in the content of the thumb drive

containing an enciypted download of Scud Mart's Facebook account. There is

also probable cause to search the information described in Attachment A for

evidence, contraband, or fruits of these crimes, as' further described in

Attachment B. This affidavit is made for the sole purpose of demonstrating

probable cause for the issuance of this search warrant and does not set forth all

of my knowledge of this investigation.

      6.     From my training and experience, I am aware that when Electronic

Service Providers, like Facebook, provide access to an encrypted compressed

storage file, typically a zip file, on its law enforcement portal. The link is to a file

that is limited to the content of the account authorized by the search warrant

and no other accounts.


      7.     It is my understanding that I must seek this additional warrant to

review the responsive materials out of an abundance of caution to comply with

the issue raised in the recent decision in United States v. Nyah, 928 F.3d 694

(8th Cir. 2019).

                                 PROBABLE CAUSE


      6.     On March 9, 2020, Oglala Sioux Tribe Department of Public Safety

(OSTDPS) and Oglala Sioux Tribe Criminal Investigators (OST CI) received a call
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of an armed subject in North Ridge, a housing community in Pine Ridge, SD.

Upon arrival to the North Ridge area, OST CI John Pettigrew learned that Dale

Martin, Jr., a/k/a Scud Martin, discharged several rounds outside of Jaden

Turning Holy's, a/k/a Jaden Richards', trailer in North Ridge. Officers located

one purple 16-guage shell casing outside of the residence. Martin was not

immediately located.

      7.    As officers and CPs remained outside of Turning Holy's residence,

Turning Holy and John Hussman III arrived in a maroon truck. CI Pettigrew

interviewed Turning Holy outside of her residence. Turning Holy stated that

Martin was with her earlier that day and they were drinking with Feather Cottier

inside her trailer. According to Turning Holy, Cottier called Martin a "bitch," and

Martin got upset. Turning Holy said that Martin pumped a shell into the

chamber and discharged one round outside of the trailer. Turning Holy took

Martin to Thomas Brewer's old trailer. While in the truck, Martin discharged an

additional round. A search of Turning Holy's truck revealed one purple spent

16-guage^shell casing and a Prairie Winds Players Card with Martin's name on
it. Turning Holy advised she had not seen Martin since dropping him off at

Brewer's residence.


      8.    Law enforcement eventually located Martin outside of his father's

residence in''Pine Ridge. Martin refused consent to search .his dad's residence.

Martin was arrested and placed inside a patrol vehicle while CPs drafted a search

warrant.   During the time officers were waiting, Martin's dad arrived and
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consented to a search of his residence. Officers entered Martin's dad's residence

and observed a short barrel shot gun laying on a couch. Near where the firearm

lay, a scale, possibly used to weigh illegal substances, was located. Martin's dad

advised the shotgun was not there earlier. Officers cleared the firearm and

removed two purple 16-guage rounds.

      9.     Your affiant took custody of the firearm. Your affiant identified the

firearm as an Ithaca Gun Company, model 37, 16-guage pump-action shotgun

(SN:None) with a barrel length of 15.75 inches and an overall length of 26.5

inches. Your affiant is aware that to lawfully possess a weapon of that length,

one must register it with the National Firearms Registration and Transfer Record

(NFRTR). Your affiant learned Martin did not register the firearm with the

NFRTR.      Additionally, your affiant is aware that Martin was convicted of

Aggravated Assault in October 2017 from Pennington County and in September

2016 for Escape in Nebraska (possibly related to an assault on a corrections

officer). Your affiant is aware that due to Martin's conviction(s), Martin is not

eligible to possess a firearm. Your affiant also learned that the firearm was

manufactured in the State of New York, thus affecting interstate commerce.

      10.    In January 2020, your affiant reviewed Martin's public Facebook

page,"Scud Mart," regarding an unrelated investigation. Your affiant noted that

Martin posted a"picture of himself with a shotgun that appears to have been

modified. Due to the angle of the photograph, your affiant is uncertain if the

shotgun in the picture is the same shotgun recovered by officer^ in March 2020.
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     , 11.   On March 19, 2020, the following Facebook account belonging to

Martin       was       preserved:      Screen        Name:       Scud        Mart,

https:/ /www.facebook.com/scudmart23226.         Your affiant believes there is

probable cause to search the Target Account for evidence of a violation of 18

U.S.C. §§ 922(g)(1) and 924(a)(2) and 26 U.S.C. §§ 5841, 5861(d), and 5871,

based on Martin's December 2019 post with a suspected illegal firearm and his

arrest by tribal authorities in March 2020.

      12.    On May 28, 2020, your affiant sought and obtained a search warrant

for the Facebook account at issue.     Your affiant executed the court's search

warrant the same day by serving it on Facebook via its law enforcement portal.

Facebook did not provide the responsive materials within 14 days of the issuance

of this Court's search warrant. Your affiant received the original return from

Facebook on the search warrant on June 23,2020. On June 23,2020, your affiant

office downloaded the files with success. The information was in the form of a zip

file, a PDF file, and included a Certificate of Authenticity. Your affiant's office

printed the Certificate of Authenticity, then burned the zip file and PDF file to a

thumb drive on that same date, June 23, 2020.

      13.    Although the information was accessed, it was accessed solely for the

purpose of confirming the file was accessible. The enciypted compressed storage

file is being held securely at the FBI office in Rapid City, awaiting this search

warrant.
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      14.   Your affiant, in consideration of the recent development in the Eighth

Circuit, the Nyah decision of June 26, 2019, submits this request to search the

thumb drive created on June 23, 2020, which contains the material provided by

Facebook which was received by your affiant office outside the 14-day window on

the original search warrant dated May 28, 2020.
                                                                          1



                        INFORMATION ON FACEBOOK


      15.   Facebook owns and operates a free-access social networking website

of the same name that can be accessed at http://www.facebook.com. Facebook

allows individuals to specifically communicate with another person through a

Facebook application called "Messenger." In my training and experience, people

who engage in online criminal activity often also utilize Facebook to meet victims

and other offenders and to chat. Even if Facebook was not utilized in the chat

at issue, there is probable cause to believe there will be evidence regarding the

online solicitation of minors within the target Facebook account.

      16.   Facebook owns and operates a free-access social networking website

of the same name that can be accessed at http://www.facebook.com. Facebook

allows its users to establish accounts with Facebook, and users can then use

their accounts to share written.news, photographs, videos, and other information

with other Facebook users, and sometimes with the general public.

      17.   Facebook asks users to provide basic contact and personal

identifying information to Facebook, either during the registration process or


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thereafter. This inforraation may include the user's full name, birth date, gender,

contact e-mail addresses, Facebook passwords, Facebook security questions and

answers (for password retrieval), physical address (including city, state, and zip

code), telephone numbers, screen names, websites, and other personal

identifiers. Facebook also assigns a user identification number to each account.

      18.   Facebook users may join one or more groups or networks to connect

and interact with other users who are members of the same group or network.

Facebook assigns a group identification number to each group. A Facebook user

can alsp connect directly with individual Facebook users by sending each user a

"Friend Request." If the recipient of a "Friend Request" accepts the request, then

the two users will become "Friends" for purposes of Facebook and can exchange

communications or view information about each other. Each Facebook user's

account includes a list of that user's "Friends" and a "News Feed," which

highlights information about the user's "Friends," such as profile changes,

upcoming events, and birthdays.

      19.   Facebook users can select different levels of privacy for the

communications and information associated with their Facebook accounts. By

adjusting these privacy settings, a Facebook user can make information

available only to himself or herself, to particular Facebook users, or to anyone

with access to the Internet, including people who are not Faeebook users. A

Facebook user can also create "lists" of Facebook friends to facilitate the

application of these privacy settings. Facebook accounts also include other


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account settings that users can adjust to control, for example, the types of

notifications they receive from Facebook.

      20.    Facebook users can create profiles that include photographs, lists

of personal interests, and other information. Facebook users can also post

"status" updates about their whereabouts and actions^ as well as links to videos,

photographs, articles, and other items available elsewhere on the Internet.

Facebook users can also post information about upcoming "events," such as

social occasions, by listing the event's time, location, host, and guest list. In

addition, Facebook users can "check in" to particular locations or add their

geographic locations to their Facebook posts, thereby revealing their geographic

locations at particuto dates and times. A particular user's profile page also

includes a "Wall," which is a space where the user and his or her "Friends" can

post messages, attachments, and links that will typically be visible to anyone

who can view the user's profile.

      21.    Facebook allows users to upload photos and videos, which may

include any metadata such as location that the user transmitted when s/he

uploaded the photo or video. It also provides users the ability to "tag" (i.e., label)

other Facebook users in a photo or video. When a user is tagged in a photo or

video, he or she receives a notification of the tag and a link to see the photo or

video. For Facebook's purposes, the photos and videos associated with a user's

account will include all photos and videos uploaded by that user that have not
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been deleted, as well as all photos and videos uploaded by any user that have

that user tagged in them.

      22.   Facebook users can exchange private messages on Facebook with

other users. These messages, which are similar to e-mail messages, are sent to

the recipient's "Inbox" on Facebook, which also stores copies of-messages sent

by the recipient, as well as other information. Facebook users can also post

comments on the Facebook profiles of other users or on their own profiles; such

comments are typically associated with a specific posting or item on the profile.

In addition, Facebook has a Chat feature that allows users to send and receive -

instant messages through Facebook. These chat communications are stored in

the chat history for the account. Facebook also has a Video Calling feature, and

although Facebook does not record the calls themselves, it does keep records of

the date of each call.

      23.   If a Facebook user does not want to interact with another user on

Facebook, the first user can "block" the second user from seeing his or her

account.


      24.    Facebook has a "like" feature that allows users to give positive

feedback or connect to particular pages. Facebook users can "like" Facebook

posts or updates, as well as webpages or content on third party {ie., non-

Facebook) websites.      Facebook users can also become "fans" of particular

Facebook pages.




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      25.   Facebook has a search function that enables its users to search

Facebook for keywords, usernames, or pages, among other things.               Each

Facebook account has an activity log, which is a list of the user's posts and other

Facebook activities from the inception of the account to the present. The activity

log includes stories and photos that the user has been tagged in, as well as

connections made through the account, such as "liking" a Facebook page or

adding someone as a friend. The activity log is visible to the user but people who

visit the user's Facebook page cannot viewed it.

      26.   Facebook Notes is a blogging feature available to Facebook users,

and it enables users to write and post notes or personal web logs ("blogs"), or to

import their blogs from other services, such as Xanga, LiveJournal, and Blogger.

      27.   The Facebook Gifts feature allows users to send virtual "gifts" to

their friends that appear as icons on the recipient's profile page. Gifts cost money

to purchase, and a personalized message can be attached to each gift. Facebook

users can also send each other "pokes," which are free and simply result in a

notification to the recipient that he or she has been "poked" by the sender.

      28.   Facebook also has a Marketplace feature, which allows users to post

free classified ads. Users can post items for sale, housing,jobs, and other items

on the Marketplace.

      29.   In addition to the applications described above, Facebook also

provides its users with access to thousands of other applications ("apps") on the

Facebook platform. When a Facebook user accesses or uses one of these


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applications, an update about that the user's access or use of that application

may appear on the user's profile page. Facebook uses the term "Neoprint" to

describe an expanded view of a given user profile. The "Neoprint" for a given

user ean inelude the following information from the user's profile: profile contact

information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists,

including the friends' Facebook user identification numbers; groups and

networks of which the user is a member, including the groups' Facebook grpup

identification numbers; future and past event postings; rejected "Friend"

requests; comments; gifts; pokes; tags; and information about the user's access

and use of Facebook applications..

      30. . Facebook also retains Internet Protocol ("IP") logs for a given user ID

or IP address. These logs may contain information about the actions taken by

the user ID or IP address on Facebook, including information about the type of

action, the date and time of the action, and the user ID and IP address associated

with the action. For example, if a user views a Facebook profile, that user's IP

log would reflect the fact that the user viewed the profile^ and would show when

and from what IP address the user did so.

      31.   Social networking providers like Facebook typically retain additional

information about their users' accounts, such as information about the length

of service (including start date), the types of service utilized, and the means and

source of any payments associated with the service (including any credit card or


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bank account number). In some cases, Facebook users may communicate

directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking

providers like Facebook typically retain records about such communications,

including records of contacts between the user and the provider's support

services, as well as records of any actions taken by the provider or user as a

result of the communications.


      32.   As explained herein, information stored in connection with a

Facebook account may provide crucial evidence of the "who, what, why, when,

where, and how" of the criminal conduct under investigation, thus enabling the

United States to establish and prove each element or alternatively, to exclude

the innocent from further suspicion. In my training and experience, a Facebook

user's "Neoprint," IP log, stored electronic communications, and other data

retained by Facebook, can indicate who, has used or controlled the Facebook

account. This "user attribution" evidence is analogous to the search for "indicia

of occupancy^' while executing a search warrant at a residence. For example,

profile contact information, private messaging logs, status updates, and tagged

photos (and the data associated with the foregoing, such as date and time) may

be evidence of who used or controlled the Facebook account at a relevant time.

Further, Facebook account activity can show how and when,the user accessed

or used the account. For example, as described herein, Facebook logs the

Internet Protocol (IP) addresses from which users access their accounts along


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with the time and date. By determining, the physical location associated with

the logged IP addresses, investigators can understand the chronological and

geographic context of the account access and use relating to the crime under

investigation.   Such information allows investigators to understand the

geographic and chronological context of Facebook access, use, and events

relating to the crime.under investigation. Additionally, Facebook builds geo-

location into some of its services. Geo-location allows, for example, users to "tag"

their location in posts and Facebook "friends" to locate each other.           This

geographic and timeline information may tend to either inculpate or exculpate

the Facebook account owner. Last, Facebook account activity may provide

relevant insight into the Facebook account owner's state of mind as it relates to

the offense under investigation. For example, information on the Facebook

account may indicate the owner's motive and intent to commit a crime (e.g.,

information indicating a plan to commit a crime), or consciousness of guilt (e.g.,

deleting account information in an effort to conceal evidence from law

enforcement).

      33.   Therefore, the computers of Facebook are likely to contain all the

material described above, including stored electronic communications and

information concerning subscribers and their use of Facebook, such as account

access information, transaction information, and other account information.




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                      INFORMATION TO BE SEARCHED
                         AND THINGS TO BE SEIZED


      34.   I   anticipate    executing   this   warrant under the     Electronic

Communications Privacy Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A)

and 2703(c)(1)(A), by using the warrant to require Facebook to disclose to the

government copies of the records and other information (including the content

of communications) particularly described in Section I of Attachment B. Upon

receipt of the information described in Section I of Attachment B, government-

authorized persons will review that information to locate the items described in

Section II of Attachment B.


                       REQUEST/JUSTIFICATION FOR
                         ORDER OF NONDISCLOSURE


      35.   The United States respectfully applies for an order of nondisclosure

to Facebook under 18 U.S.C. § 2705(b) regarding the following account: User

Name: Scud Mart, URL: https://www.facebook.com/scudmart23226.                The

United States is seeking this search warrant for user information, including all

names, addresses, IP addresses, including historical, telephone numbers, other

email addresses, information on length and types of services and any means of

payment related to these accounts under the authority given by 18 U.S.C. §§

2703(a), 2703(b)(1)(A) and 2703(c)(1)(A). Based on § 2703(c)(3), the United States

is not required to provide notice to the subscriber. Under § 2705(b), theUnited

States may apply to the court for an order commanding Facebook not to notify

the subscriber of the existence of the search warrant. The court may decide


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what length of time shall apply to the order of nondisclosure if the court

determines the notification to the subscriber could result in one of the five factors

listed in the statute, which includes destruction of or tampering with evidence.

18 U.S.C. § 2705(b)(3). The basis for the request is that such disclosure could

cause any person with access to the accounts, or any related account or account

information, to tamper with or modify the content or account information and

thereby destroy or tamper with evidence and otherwise seriously jeopardize the

investigation. Especially due to the ease of access to Facebook, its content can

be modified by persons with internet access and sufficient account information.

As such, the United States respectfully requests this Court enter an order

commanding Facebook not to notify the user of the existence of this warrant.

                            REQUEST FOR SEALING


      36.   I further request that the Court order that the matter be sealed until

further order of the Court. The matter is an ongoing criminal investigation that

is neither public nor known to all of the targets of the investigation. Accordingly,

there is good cause to seal the matter because premature disclosure may

seriously jeopardize the ongoing investigation.

                         LIMIT ON SCOPE OF SEARCH


      37.    I submit that if during the search, agents find evidence of crimes

not set forth in this affidavit, another agent or I will seek a separate warrant.




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                                    CONCLUSION


      38.    Based on the forgoing, I request that the Court issue the proposed

search warrant.


      39.    This Court has jurisdiction to issue the requested warrant because

it is "a court of competentjurisdiction" as defined by 18 U.S.C.§ 2711. 18 U.S.C.

§§ 2703(a),(b)(1)(A) & (c)(1)(A).

      40.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law

enforcement officer is not required for the service or execution of this

warrant.




      Dated: June 24. 2020
                                             Special Agent I^iley Cook
                                             Bureau of Alcohol, Tobacco,
Firearms and
                                             Explosives

^ESCRIBED and SWORN to
^C<^in my presence
      by reliable electronic means
this 24th day of June, 2020.



DANETA WOLLMANN
U.S. MAGISTRATE JUDGE




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                               ATTACHMENT A

                           Property to Be Searched


      This warrant applies to the thumb drive containing the June 23, 2020,

download of the encrypted compressed storage file containing the content of

Facebook user ID:


     • User Name: Scud Mart;

     •   URL; https:/ / https:/ /www.facebookxom/scudmart23226.



The above is held in secure storage at the ATF Office in Rapid City.
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                               ATTACHMENT B


                        Particular Things to be Seized

All information   described   below   that constitutes fruits, evidence       and

instrumentalities of violations of the Target Offenses from December 1, 2019,

until the date of the warrant for the user IDs listed in Attachment A:

(a)   All contact and personal identifying information, including for Facebook

      user ID: user name: Scud Mart, URL:

      https://www.facebook.com/scudmart23226:

(b)   Including full name, user identification number, birth date, gender,

      contact e-mail addresses, Facebook passwords, Facebook security

      questions and answers, physical address (including city, state, and

      zip code), telephone numbers, screen names, websites, and other

      personal identifiers.

(c)   All activity logs for the accounts and all other documents showing .

      the user's posts and other Facebook activities;

(d)   All photos and videos uploaded by that user ID and all photos and

      videos uploaded by any user that have that user tagged in them;

(e)   All profile information; News Feed information; status updates; links

      to videos, photographs, articles, and other items; Notes; Wall

      postings; friend lists, including the friends' Facebook user

      identification numbers; groups and networks of which the user is a

      member, including the groups' Facebook group identification

      numbers;future and past event postings; rejected "Friend" requests;
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      comments; gifts; pokes; tags; and information about the user's

      access and use of Facebook applications;

(f)   All other records of communications and messages made or received

      by the user, including all private messages, chat histoiy, video

      calling history, and pending "Friend" requests;

(g)   All "check ins" and other location information;

(h)   All IP logs, including all records of the IP addresses that logged into

      the accounts;

(i)   All records of the accounts' usage of the "Like" feature, including all

      Facebook posts and all non-Facebook webpages and content that

      the user has "liked";

(j)   All information about the Facebook pages that the accounts are or

      were a "fan" of;

(k)   All past and present lists of friends created by the accounts;

(1)   All records of Facebook searches performed by the" accounts;

(m)   All information about the users' access and use of Facebook

      Marketplace;

(n)   The types of service utilized by the user;

(o)   The length of service (including start date) and the means and

      source , of any payments associated with the service (including any

      credit card or bank account number);
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(p)   All privacy settings and other account settings, including privacy

      settings for individual Facebook posts and activities, and all records

      showing which Facebook users have been blocked by the accounts;

(q)   All records pertaining to communications between Facebook and

      any person regarding the user or the user's Facebook accounts,

      including contacts with support services and records of actions

      taken.
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(Please fill out this form and return it with your subpoenaed records. It may avoid the necessity ofsomeone from your
office having to appear at trial and testify as to the authenticity ofthe records. Thank you.)


               CERTIFICATE OF AUTHENTICITY OF DOMESTIC RECORDS
          PURSUANT TO FEDERAL RULES OF EVIDENCE 902(11) AND 902(13)


         I,                                 ^                          , attest, under penalties of peijury by
the laws of the United States of America pursuant to 28 U.S.C. § 1746,that the information
contained in this certification is true and correct. I am employed by


hereinafter PROVIDER), and my title is                                                                         .
I am qualified to authenticate the records attached hereto because I am familiar with how the
records were created, managed,stored, and retrieved. I state that the records attached hereto are
true duplicates of the original records in the custody ofPROVIDER. The attached records
consist of(generally describe records, i.e., number of pages/CDs/megabytes)


         I further state that:

         a.       all records attached to this certificate were made at or near the time ofthe .

occurrence of the matter set forth by, or from information transmitted by, a person with
knowledge of those matters, they were kept in the ordinary course of the regularly conducted
business activity ofPROVIDER,and they were made by PROVIDER as a regular practice; and
         b.       such records were generated by PROVIDER'S electronic process or system that
produces an accurate result, to wit:
                  1.       the records were copied from electronic device(s), storage medium(s), or
file(s) in the custody ofPROVIDER in a manner to ensure that they are true duplicates of the
original records; and
                  2.       the process or system is regularly verified by PROVIDER,and at all times
pertinent to the records certified here the process and system functioned properly and normally.
         I further state that this certification is intended to satisfy Rules 902(11) and 902(13)of
the Federal Rules of Evidence.




Date                                            Signature
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AO 93 (Rev. 11/13) Search and Seizure Warrant




                                           United States District Court
                                                                            for the

                                                                District of South D^ota


                  In the Matter ofthe Search of
             (Briejly describe the property to be searched
              or identify the person by name and address)                     )       Case No.   5:20-mj-131
     A thumb drive containing the download of the encrypted
   compressed storage file containing the content of Facebook
   User: Scud Mart, https://www.facebook.com/scudmart23226,
            which is stored at the ATP Office in Rapid City.
                                                  SEARCH AND SEIZURE WARRANT

To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the                              District of           South Dakota
(identify the person or describe the property to be searched and give its location)

      A thumb drive containing the download of the encrypted compressed storage file containing the content
      of Facebook User; Scud Mart, https://www.facebook.com/scudmart23226, which is stored at the ATF
      Office in Rapid City., as further described in Attachments A and B, which are attached to and
      incorporated in this Application and Affidavit.

          1 find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

         EEvidence of the crimes of Possession of Firearm or Ammunition by a Prohibit Person, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)
     (2), and Receipt or Possession of Unregistered Firearm, in violation of 26 U.S.C. §§ 5841, 5861(d), and 5871, as described in ATTACHMENT
      B, attached hereto and incorporated by reference.

      I find that the affidavit, or any recorded testimony, establishes probable cause to search and seize the person or property.


          YOU ARE COMMANDED to execute this warrant on or before                                                             (not to exceed 14 days)
      pf in the daytime 6:00 a.m. to 10:00 p.m. □ at any time in the day or night^ecause good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                        Daneta Wollmann                       .
                                                                                                    (United States Magistrate Judge)

    □ Pursuant to 18 U.S.C. § 3103a(b), 1 find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
       □ for           ddiys (not to exceed 30)    □ until, the facts justifying, the later Specific date of                                           .


Date and time issued
                                                                                                            Judge's signature


City and state:              Rapid City, SD                                                 Daneta Wollmann, U.S. Magistrate Judge
                                                                                                          Printed name and title




                                                                                       cc: AUSA Poppen via email
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                                                                                    -



                                                                  Return

Case No.:                               Date and time warrant executed:         Copy of warrant and inventory left with:
5:20-mj-131
Inventory made in the presence of:

Inventory ofthe property taken and name of any person(s) seized:




                                                                Certification



          I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




Date:
                                                                                        Executing officer's signature


                                                                                           Printed name and title
